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PROPOSED ATTORNEY FOR DEBTOR

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

IN RE:                                    §
                                          §
DALLAS BARBECUE, LLC                      §     CASE NO 18-33509
                                          §
       DEBTOR                             §
____________________________________________________________________________
IN RE:                                    §
                                          §
GARLAND BARBECUE #1, LLC                  §     CASE NO 18-33510
       DEBTOR                             §
____________________________________________________________________________
IN RE:                                    §
                                          §
FARMERS BRANCH BARBECUE, LLC              §     CASE NO 18-33511
                                          §
       DEBTOR                             §

                     EX PARTE MOTION OF DEBTORS PURSUANT TO
                        BANKRUPTCY RULE 1015(b) FOR ORDER
                     DIRECTING JOINT ADMINISTRATION OF CASES



TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         Comes Now, Dallas Barbecue, LLC , Garland Barbecue, #1, LLC and Farmers Branch

Barbecue, LLC, (collectively “Debtors”), respectfully state that:

                                           Background


EX PARTE MOTION OF DEBTORS FOR ORDER
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       1.        On October 30, 2018, Debtors filed their voluntary petitions for relief under Chapter

11 of Title 11, United States Code (the “Bankruptcy Code”).

       2.        Each of the Debtors is continuing to operate its business and/or manage its properties

as a debtor-in-possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

                                       Jurisdiction and Venue

       3.        This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and

1334. Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue of

this proceeding is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          Debtors’ Business

       4.        Jeff Bass (“Bass”) is the 100% owner Dallas Barbecue, LLC, Garland Barbecue #1,

LLC and Farmers Branch Barbecue, LLC. Each of these Debtors operates a Dickeys Barbecue Pit

restaurant.

                                         Relief Requested

       5.        By this Motion, the Debtors seek orders directing the joint administration of their

Chapter 11 cases for procedural purposes only pursuant to Federal Rule of Bankruptcy Procedure

1015(b). A form of proposed order is attached hereto as Exhibit “A.” Rule 1015(b) provides, in

relevant part:

                 If a joint petition or two or more petitions are pending in the same
                 court by or against . . . a debtor and an affiliate, the court may order
                 a joint administration of the estates.

The Debtors are “affiliates” as that term is defined in Section 101(2) of the Bankruptcy Code.

Accordingly, this Court is authorized to grant the relief requested.




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         4.     The Debtors submit that joint administration of their cases will obviate the need for

duplicative notices, motions, applications and orders, and thereby save considerable time and expense

for the Debtors and their estates.

         5.     The rights of the respective creditors of the Debtors will not be adversely affected by

the proposed joint administration because the major creditors are creditors of these estates and the

Debtors will continue as separate and distinct legal entities and separate books and records will

continue to be maintained for each. Moreover, each creditor may still file its claim against a particular

estate. In fact, the rights of all creditors will be enhanced by the reduction in costs resulting from the

joint administration. The Court also will be relieved of the burden of entering duplicative orders and

maintaining redundant files. Finally, supervision of the administrative aspects of these Chapter 11

cases by the Office of the United State Trustee will be simplified.

         6.     By reason of the foregoing, the Debtors submit that the interests of the Debtors, their

estates, and all parties-in-interest would best be served by joint administration of the above-captioned

cases.

                                                 Notice

         7.     No trustee, examiner, or creditors’ committee has been appointed in the Debtors’

Chapter 11 cases. Notice of this Motion has been given to the Office of the United States Trustee

for the Northern District of Texas. Because of the administrative nature of the relief requested herein,

the Debtors submit that no other notice need be given.

         8.     No previous application for the relief requested herein has been made to this or any

other Court.

         WHEREFORE, PREMISES CONSIDERED, the Debtors respectfully request entry of an

order granting the relief requested herein, and for such other and further relief as is just.

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                                            Respectfully submitted,

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                                            By:     __/s/ Eric Liepins_____
                                                    Eric Liepins
                                                    Texas State Bar No. 12338110
                                            PROPOSED COUNSEL FOR DEBTORS




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 30th day of October, 2018, a true and correct
copy of the foregoing Ex Parte Motion of Debtors Pursuant to Bankruptcy Rule 1015(b) for Order
Directing Joint Administration of Cases was hand-delivered to the Office of the United States
Trustee, 1100 Commerce Street, Room 9C60, Dallas, Texas 75242.


                                            _/s/ Eric Liepins_______________
                                            Eric Liepins




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